Case 9:24-cv-00085-MJT         Document 24        Filed 10/17/24     Page 1 of 18 PageID #: 317




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION


                                                      )
                                                      )
 JOHN WHITE,                                          )
                                                      )
         Plaintiff,                                   )   Case No. 9:24-CV-00085-MJT
                                                      )
 v.                                                   )
                                                      )
 LLOYD GILLESPIE                                      )
                                                      )
         Defendant.




              FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         NOW INTO COURT, through undersigned counsel, comes Plaintiff, John White, who

 respectfully submits this First Amended Complaint against Defendants, Lloyd Gillespie

 (“Gillespie”) and RB Global, Inc. (“Ritchie Bros.,” and together with Gillespie, “Defendants”),

 seeking damages arising from Defendants’ conversion of certain pieces of equipment owned by

 Plaintiff:

                           PARTIES, JURISDICTION AND VENUE

                                                 1.

         Plaintiff, John White, is a person of full age of majority who is a citizen of the state of

 Louisiana.




 3946073v1
Case 9:24-cv-00085-MJT           Document 24       Filed 10/17/24      Page 2 of 18 PageID #: 318



                                                  2.

         Defendant, Lloyd Gillespie, is a person of full age of majority who is a citizen of the state

 of Texas.

                                                  3.

         Defendant, RB Global, Inc., is a Canadian corporation having its principal place of

 business in Westchester, Illinois. RB Global, Inc.’s common stock trades on the New York

 Stock Exchange under the ticker symbol “RBA.” RB Global, Inc. was formerly known as

 “Ritchie Bros. Auctioneers Incorporated,” and one of its current marketplace brands includes

 Ritchie Bros., the world’s largest auctioneer of commercial assets and vehicles. There are

 multiple Ritchie Bros.’ locations within the State of Texas.

                                                  4.

         This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) because

 the amount in controversy exceeds $75,000 and Plaintiff and Defendants are citizens of different

 states, creating diversity of citizenship.

                                                  5.

         This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C. § 1332

 and the principles of supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

                                                  6.

         The matter in controversy is between a citizen of the State of Louisiana and citizens of

 Texas and Illinois, and the amount in controversy, exclusive of interest and costs, exceeds

 $75,000.00.

                                                  7.

         Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. § 1391. One of the

 Defendants resides in this judicial district, and a substantial part of the events or omissions



                                                 -2-
 3946073v1
Case 9:24-cv-00085-MJT            Document 24           Filed 10/17/24   Page 3 of 18 PageID #: 319




 giving rise to the claims occurred within this judicial district. Further, Defendants are all subject

 to personal jurisdiction in this judicial district.

                                                       8.

         This Court has personal jurisdiction over Defendants since they transact business within

 this State and Defendant RB Global, Inc. has multiple offices in this State; have committed

 tortious acts or omissions within this State; regularly do or solicit business, or engage in other

 persistent courses of conduct, or derive substantial revenue from goods, purchased, used or

 consumed or services rendered in this State. The activities of Defendants within this State are

 substantial and not isolated. In addition, this action arises out of transactions and operations

 connected with and incidental to Defendants’ business within this State.

                                                       9.

         Further, Defendants conspired with each other in this State, and a substantial portion of

 the acts in furtherance of their conspiracy took place in this State.

                                     FACTUAL ALLEGATIONS

                                                       10.

         Plaintiff seeks damages arising from the conversion by Defendants of the following

 equipment (the “Converted Equipment”):

  Manufacturer                Description                    Year           Serial Number
                                                             Model
    Caterpillar         Unit #36 CP 56 Roller                2013             0C5P00680
    Caterpillar         Unit #41 D6T XWVP                    2013        CAT00D6TCRCW01165
    Caterpillar             Unit #40 D6T                     2013            0GMK00555

                                                       11.

         The Converted Equipment had a combined original purchase price of more than

 $800,000. The combined market value of the Converted Equipment at the time that it was

 converted has been calculated to be in excess of $400,000.


                                                       -3-
 3946073v1
Case 9:24-cv-00085-MJT        Document 24         Filed 10/17/24    Page 4 of 18 PageID #: 320



                                               12.

        The Converted Equipment was purchased, with other equipment, by Plaintiff from

 Greenleaf Resources, Inc. (“Greenleaf”) pursuant to a Bill of Sale dated effective as of

 September 5, 2017. See a copy of the Bill of Sale, attached hereto as Exhibit “A.”

                                               13.

        Plaintiff purchased the Converted Equipment using funds loaned to Plaintiff by Texas

 State Bank. The funds advanced by Texas State Bank were secured by, among other collateral,

 the Converted Equipment. Texas State Bank filed UCC financing statements, copies of which are

 attached hereto as Exhibit “B,” in the public records in connection with the loan of funds to

 Plaintiff to purchase the Converted Equipment.

                                               14.

        During the time that the Converted Equipment was owned by Greenleaf, Greenleaf had

 financed the Converted Equipment with Caterpillar Financial Services Corporation. In

 connection with the purchase by Plaintiff of the Converted Equipment from Greenleaf, Plaintiff

 obtained payoff statements. See Payoff Statements for the Converted Equipment, attached hereto

 as Exhibit “C.”

                                               15.

        Contemporaneously with the Bill of Sale between Plaintiff and Greenleaf, Plaintiff paid

 off the remaining balances owed to Caterpillar Financial Services Corporation for the Converted

 Equipment. The liens and other rights held by Caterpillar Financial Services Corporation with

 respect to the Converted Equipment were extinguished upon payment by Plaintiff.

                                               16.

        After Plaintiff purchased the Converted Equipment from Greenleaf, Plaintiff initially

 leased the Converted Equipment back to Greenleaf for use. When Greenleaf ceased operations in



                                               -4-
 3946073v1
Case 9:24-cv-00085-MJT           Document 24          Filed 10/17/24       Page 5 of 18 PageID #: 321




 2021, Plaintiff took back possession of the Converted Equipment, which was moved to, and

 stored at, a timber farm located near Zavalla, Texas.

                                                   17.

         Without Plaintiff’s knowledge or permission, Gillespie, personally and/or through

 persons acting on his behalf and at his direction, traveled to the timber farm near Zavalla, Texas,

 and arranged for the Converted Equipment to be removed from the yard and taken to a location

 designated by Gillespie.

                                                   18.

         Plaintiff contacted Gillespie through counsel to inform Gillespie that Gillespie had taken

 equipment owned by Plaintiff.

                                                   19.

         Gillespie initially denied that he had taken the Converted Equipment and also failed to

 inform Plaintiff about the whereabouts of the Converted Equipment.                   Despite Plaintiff’s

 amicable demand on Gillespie, Gillespie failed and/or refused to return the Converted
              1
 Equipment.

                                                   20.

         In his First Amended Answer filed on June 24, 2024, Gillespie—for the first time—

 admitted that he had taken at least two pieces of the Converted Equipment and sold them at a

 Ritchie Bros.’ auction on June 16, 2021, for the total sum of $147,500. See Rec. Doc. No. 8 at

 ¶¶ 13, 31. See also Rec. Doc. No. 14 at ¶¶ 13, 31




 1 An entity affiliated with Gillespie recently asserted a demand in Texas state court seeking a declaration
 that the affiliated entity has superior rights than Plaintiff to certain equipment other than the Converted
 Equipment. The equipment detailed in that separate state suit is separate from the Converted Equipment,
 and Plaintiff is not claiming that Gillespie converted any equipment listed in the state-court action by
 Gillespie ‘s affiliated entity.

                                                    -5-
 3946073v1
Case 9:24-cv-00085-MJT         Document 24        Filed 10/17/24      Page 6 of 18 PageID #: 322



                                                21.

        To the extent this is correct, this sales price is far below the fair market value of the

 Converted Equipment at the time of the supposed sale.

                                                22.

        As a result of Defendants’ misconduct, Plaintiff is now stuck in the very unfortunate

 situation of having to pay a loan owed to Texas State Bank for the purchase of the Converted

 Equipment that Defendants have allegedly sold to an undisclosed third party.

                                                23.

        Gillespie has taken the position in the past that he and/or an entity with which he is

 affiliated purchased certain promissory notes and/or other rights from Caterpillar Financial

 Services Corporation that he claims vested him with rights to the Converted Equipment.

 Gillespie has nonetheless failed to provide any proof of any such rights, and Plaintiff paid off the

 amounts owed to Caterpillar Financial Services Corporation for the Converted Equipment at the

 time Plaintiff purchased the Converted Equipment from Greenleaf.

                                                24.

        More recently, in his several Answers filed in response to Plaintiff’s Complaint, Gillespie

 claims that he had the right to take the Converted Equipment because an entity affiliated with

 Gillespie had acquired a security interest in the Converted Equipment in June 2015 and because

 Plaintiff is allegedly indebted to that entity as a guarantor of certain promissory notes in the

 amounts of $700,000 and $300,000 issued in 2015 and 2016, respectively. See Commercial

 Promissory Note dated June 2, 2015, attached as Exhibit “D” and Commercial Promissory Note

 dated May 11, 2016, attached as Exhibit “E.”




                                                -6-
 3946073v1
Case 9:24-cv-00085-MJT         Document 24        Filed 10/17/24      Page 7 of 18 PageID #: 323



                                                25.

        Gillespie’s supposed defense has no merit and is legally and factually incorrect for

 several reasons.

                                                26.

        As an initial matter, neither Gillespie nor his affiliated entity ever acquired a security

 interest in the Converted Equipment.

                                                27.

        The security interest to which Gillespie refers is evidenced by a UCC Financing

 Statement filed with the Texas Secretary of State on June 11, 2015. See June 11, 2015, UCC

 Financing Statement, attached as Exhibit “F.” Exhibit F clearly shows that Gillespie’s entity

 acquired a security interest in very specific property owned by Greenleaf. There is an attachment

 to the Financing Statement detailing the specific pieces of equipment by model and serial

 number subject to the security interest, and notably, the Converted Equipment is not on this list.

                                                28.

        Notwithstanding that Gillespie never had a security interest in the Converted Equipment,

 the debt to which Gillespie refers has been extinguished through a combination of cash payments

 and a deed in lieu of foreclosure of certain land located in Ward County, Texas.

                                                29.

        Indeed, in July 2018, on behalf of his entity, Gillespie signed a Release and Termination,

 in which he agreed, among other things, that (i) all obligations of Borrower to Lender under the

 Notes shall have been paid in full; (ii) Borrower would be released from any and all obligations

 under the Notes; (iii) each Guarantor shall be released and discharged from any and all

 obligations under the Guaranties; and (iv) all liens, pledges, charges, security interests and other

 encumbrances granted by Borrower in favor of Lender under the Loan Documents shall be



                                                -7-
 3946073v1
Case 9:24-cv-00085-MJT         Document 24        Filed 10/17/24    Page 8 of 18 PageID #: 324




 unconditionally and irrevocably terminated and released.          See July 2018, Release and

 Termination, attached as Exhibit “G.”

                                                 30.

        Importantly, as part of this Release, Plaintiff paid $1,050,000 to Gillespie’s entity and

 agreed to guaranty a $144,000 note issued by Greenleaf in favor of Gillespie’s entity. See July 3,

 2018, Commercial Promissory Note, attached as Exhibit “H.” The parties agreed and understood

 that the payment of $1,050,000 and new $144,000 note constituted a pay-off of the prior

 promissory notes and that the Plaintiff would be released as a guarantor. See July 2, 2018, Email

 from John Werner, attached as Exhibit “I.”

                                                 31.

        Gillespie even executed Releases of the Liens associated with both the $700,000 and

 $300,000 promissory notes. See Release of Lien for $700k Note, attached as Exhibit “J.” See

 also Release of Lien for $300k Note, attached as Exhibit “K.”

                                                 32.

        This note was also secured by 16.54 acres of land in Ward County, Texas. See July 3,

 2018, Deed of Trust, attached as Exhibit “L.”

                                                 33.

        Later, on May 1, 2020, a new $191,870 note was made between non-party DF

 Contractors, LLC and Gillespie’s entity that replaced the $144,000 note and that was also

 secured by the same 16.54 acres of land referenced in the above $144,000 note. See May 1,

 2020, Promissory Note, attached hereto as Exhibit “M.”

                                                 34.

        Finally, on September 2, 2020, DF Contractors, LLC and Gillespie’s entity executed a

 Deed in Lieu of Foreclosure, reflecting that the entity released the borrower of the $191,870 note



                                                 -8-
 3946073v1
Case 9:24-cv-00085-MJT          Document 24        Filed 10/17/24      Page 9 of 18 PageID #: 325




 (which, again, replaced the $144,000 note) from all liability for the indebtedness and obligations

 under the May 1, 2020, Promissory Note in exchange for Gillespie’s entity taking ownership of

 the 16.54 acres. See Sept. 2, 2020, Deed in Lieu of Foreclosure, attached as Exhibit “N.”

                                                 35.

        Thus, Plaintiff owes nothing further to Gillespie or Gillespie’s entity; and he certainly did

 not at the time that Gillespie took the Converted Equipment.

                                                 36.

        Moreover, even if Gillespie had a valid lien against the Converted Equipment (which he

 did not) and even if Plaintiff did still owe a debt to Gillespie (and he did not), Gillespie violated

 the law by exercising self-help in taking and selling the Converted Equipment—and the

 collateral of Texas State Bank—without proper notice to both the owner and the secured party.

                                                 37.

        Texas law is explicitly clear that a creditor needs to provide notice before it sells or

 otherwise disposes of collateral, and Gillespie did not provide notice to either White or Texas

 State Bank prior to his improper seizure and subsequent sale of the Converted Equipment.

                                                 38.

        Gillespie was required “to provide reasonable notification when disposing of repossessed

 collateral.” Wilson v. Cap. Partners Fin. Grp. USA, Inc., No. 05-20-00704-CV, 2022 WL

 2437595, at *3 (Tex. App. July 5, 2022).

                                                 39.

        Further, Gillespie was obligated to provide “reasonable authenticated notification of

 disposition” to Plaintiff and other secured parties before disposing of the property. The notice

 must (a) describe the debtor and the secured party, (b) describe the collateral, (c) describe the

 method of intended disposition, (d) inform the debtor that it is entitled to an accounting of the



                                                 -9-
 3946073v1
Case 9:24-cv-00085-MJT          Document 24           Filed 10/17/24       Page 10 of 18 PageID #: 326




 unpaid debt along with any charge for the accounting, and (e) state the time and place for the

 disposition.

                                                     40.

         As the Fifth Circuit explained in SMS Fin., LLC v. ABCO Homes, Inc., “The purpose of

 this notification is to give the debtor an opportunity to discharge the debt, arrange for a friendly

 purchaser, or to oversee that it is conducted in a commercially reasonable manner.” 167 F.3d

 235, 242 (5th Cir. 1999); see also Knights of Columbus Credit Union v. Stock, 814 S.W.2d 427,

 430 (Tex. App. 1991), writ denied (Dec. 4, 1991) (“The purpose of the required notice is to allow

 the debtor an opportunity to protect his interest in the collateral.”).

                                                     41.

         Courts hold secured parties to high standards when determining the reasonableness of

 notification prior to selling a debtor’s property. For example, the court held that notice to the

 debtor that there would be a public auction was insufficient to justify the subsequent private sale

 when the public auction did not yield sufficient bids. Van Brunt v. BancTexas Quorum, N.A., 804

 S.W.2d 117, 119 (Ct. App. Tex., Dallas 1989). The court explained that the purpose of notice

 was to provide “the debtor the opportunity to pay the debt, find a buyer, or to attend the sale and

 bid on the property or have others do so, to the end that the property will not be sacrificed by a

 sale at less than its true value.” Id. at 120-21. But this is exactly what appears to have happened

 in this case.

                                                     42.

         Gillespie did not employ any of the required steps for properly seizing property under

 Texas law, nor did he follow any proper procedure for giving Plaintiff or Texas State Bank

 notice of his intent to sell the seized property.




                                                     - 10 -
 3946073v1
Case 9:24-cv-00085-MJT         Document 24        Filed 10/17/24     Page 11 of 18 PageID #: 327



                                                43.

         Instead, Gillespie personally, or through persons acting on his behalf and at his direction,

 travelled to the Zavalla timber farm and illegally removed the Converted Equipment, and then

 proceeded to sell the equipment at auction without giving Plaintiff the required notice to protect

 his collateral.

                                                44.

         Accordingly, any claim that Gillespie had to the Converted Equipment is extinguished by

 his own improper “self-help” seizure and subsequent sale of the Plaintiff’s property, rendering

 Gillespie liable for damages in the amount of any loss caused by such failure to comply.

                                                45.

         Ritchie Bros. conspired with Gillespie to sell the Converted Equipment even though

 Gillespie did not have title to the Converted Equipment and even though the Converted

 Equipment was subject to liens in favor of Texas State Bank.

                                                46.

         Ritchie Bros. failed to follow proper protocol to ensure that Gillespie had the authority to

 sell the Converted Equipment, and that the equipment was not encumbered by a lien. In fact,

 Ritchie Bros.’ own website details the protocol the company is supposed to follow when selling

 equipment, including gathering ownership information from sellers such as titles and

 “information about liens.”

                                                47.

         Had Ritchie Bros. asked Gillespie for documentation supporting his ownership of the

 Converted Equipment, and authority to sell the equipment, Gillespie would not have been able to

 provide sufficient information. Similarly, Gillespie was required to disclose the existing Texas

 State Bank lien to Ritchie Bros. under the company’s own selling policies, but neither Gillespie



                                                - 11 -
 3946073v1
Case 9:24-cv-00085-MJT          Document 24         Filed 10/17/24   Page 12 of 18 PageID #: 328




 nor Ritchie Bros. followed this protocol as that would have prevented both Defendants from

 profiting from the illegal sale of the Plaintiff’s property.

                                                  48.

           Ritchie Bros. deliberately turned a blind eye to Gillespie’s lack of ownership and

 authority to sell the Converted Equipment, despite the fact that auctioneers are charged with

 obtaining knowledge regarding whether a seller has title and/or authority to sell equipment.

 Auctioneers must take appropriate steps to assure themselves of title to the asset being sold, and

 that assets are not encumbered by liens. Ritchie Bros. was keenly aware of the risk of selling

 equipment without taking these precautions – namely, that it can be held liable for conversion.

                                     COUNT ONE
                        CONVERSION – GILLESPIE & RITCHIE BROS.

                                                  49.

           Plaintiff re-alleges and re-incorporates the foregoing paragraphs as if fully set forth

 herein.

                                                  50.

           Pursuant to the Bill of Sale dated September 5, 2017, Plaintiff is the owner, and/or had

 entitlement to possession, of the Converted Equipment.

                                                  51.

           Gillespie unlawfully and without authorization assumed and exercised dominion and

 control over the Converted Equipment to the exclusion of Plaintiff and/or inconsistent with the

 Plaintiff’s rights as an owner.

                                                  52.

           Plaintiff demanded return of the Converted Equipment, and Gillespie refused to return

 (and to otherwise show cause in any way to support his conversion of) the Converted Equipment.

 Gillespie’s unlawful dominion and control over the Converted Equipment continues to this day.


                                                  - 12 -
 3946073v1
Case 9:24-cv-00085-MJT          Document 24        Filed 10/17/24    Page 13 of 18 PageID #: 329



                                                 53.

           The Converted Equipment was the personal property of Plaintiff, but Gillespie

 wrongfully exercised dominion or control over such property; and eventually, with the assistance

 of Ritchie Bros., sold at least some of the Converted Equipment to a third party.

                                                 54.

           Ritchie Bros. knowingly or recklessly participated in the misappropriation and

 conversion of property from Plaintiff. Ritchie Bros. was aware that Gillespie was wrongfully

 exercising dominion or control over the personal property of Plaintiff. Ritchie Bros. knew or

 should have known that it was participating in this wrongful conversion of personal property.

                                                 55.

           The conversion of property by Gillespie with the assistance of Ritchie Bros. was a

 proximate cause of actual damages to Plaintiff.

                                                 56.

           Plaintiff seeks all resulting damages and other available relief arising from Defendants’

 conversion of the Converted Equipment, as well as costs of this proceeding and pre-and post-

 judgment interest.

                             COUNT TWO
    VIOLATION OF THE PROVISIONS OF THE UNIFORM COMMERCIAL CODE -
                              GILLESPIE

                                                 57.

           Plaintiff re-alleges and re-incorporates the foregoing paragraphs as if fully set forth

 herein.




                                                 - 13 -
 3946073v1
Case 9:24-cv-00085-MJT          Document 24           Filed 10/17/24   Page 14 of 18 PageID #: 330



                                                     58.

         Gillespie violated the law by exercising self-help in taking and selling the Converted

 Equipment—and the collateral of Texas State Bank—without proper notice to both the owner

 and the secured party.

                                                     59.

         Gillespie did not provide notice to either Plaintiff or Texas State Bank prior to his

 improper seizure and subsequent sale of the Converted Equipment. See Tex. Bus. & Com. Code

 Ann. §§ 9.610, 9.611.

                                                     60.

         Gillespie failed to provide Plaintiff or Texas State Bank with notice that (a) describes the

 debtor and the secured party, (b) describes the collateral, (c) describes the method of intended

 disposition, (d) informs the debtor that it is entitled to an accounting of the unpaid debt along

 with any charge for the accounting, and (e) state the time and place for the disposition. See Tex.

 Bus. & Com. Code Ann. § 9.613.

                                                     61.

         In fact, Gillespie did not employ any of the required steps for properly seizing property

 under Texas law, nor did he follow any proper procedure for giving Plaintiff or Texas State Bank

 notice of his intent to sell the seized property.

                                                     62.

         Instead, Gillespie personally, or through persons acting on his behalf and at his direction,

 travelled to the Zavalla timber farm and illegally removed the Converted Equipment, and then

 proceeded to sell the equipment at auction without giving Plaintiff the required notice to protect

 his collateral.




                                                     - 14 -
 3946073v1
Case 9:24-cv-00085-MJT          Document 24        Filed 10/17/24     Page 15 of 18 PageID #: 331



                                                 63.

           Accordingly, any claim that Gillespie had to the Converted Equipment is extinguished by

 his own improper “self-help” seizure and subsequent sale of the Plaintiff’s property, rendering

 Gillespie liable for damages in the amount of any loss caused by such failure to comply. Tex.

 Bus. & Com. Code Ann. § 9.625

                           COUNT THREE
    ALTERNATIVE CLAIM FOR BREACH OF CONTRACT AND/OR WRONGFUL
                     REPOSSESSION - GILLESPIE

                                                 64.

           Plaintiff re-alleges and re-incorporates the foregoing paragraphs as if fully set forth

 herein.

                                                 65.

           In response to Plaintiff’s demand for return of the Converted Equipment, Gillespie

 asserted he and/or an entity with which he is affiliated purchased certain promissory notes and/or

 other rights from Caterpillar Financial Services Corporation that he claims vested him with rights

 to the Converted Equipment.

                                                 66.

           Plaintiff denies that Gillespie and/or any affiliate of Gillespie purchased any promissory

 note and/or other rights associated with the Converted Equipment. To the extent Gillespie

 provides any support that he purchased any such note(s) or rights (which is denied), however,

 Gillespie has breached his obligations with respect to those promissory notes and/or other rights,

 because Plaintiff paid off the indebtedness owed to Caterpillar Financial Services Corporation

 for the Converted Equipment at the time Plaintiff purchased the Converted Equipment pursuant

 to the Bill of Sale dated September 5, 2017.




                                                 - 15 -
 3946073v1
Case 9:24-cv-00085-MJT        Document 24       Filed 10/17/24      Page 16 of 18 PageID #: 332



                                               67.

        Plaintiff also denies that he owed any sums to Gillespie and/or any affiliate of Gillespie

 under any promissory notes or guarantees, particularly those attached as Exhibits hereto, at the

 time that Gillespie took the Converted Equipment. Further, Gillespie has acted in bad faith in

 connection with those promissory notes and the satisfaction thereof.

                                               68.

        By taking the Converted Equipment, Gillespie alternatively breached the underlying

 contracts and/or wrongfully repossessed the Converted Equipment because the underlying

 obligations, if any, owed to Gillespie had been extinguished by Plaintiff’s payment to Caterpillar

 Financial Services Corporation in connection with the September 5, 2017, Bill of Sale, as well as

 the payment of cash and tender of property.

                                               69.

        Plaintiff thus alternatively seeks all damages to which he is entitled as a result of

 Gillespie’s breach of contract and/or wrongful repossession of the Converted Equipment.

                                               70.

        Plaintiff further seeks recovery of his reasonable attorney’s fees in connection with this

 claim pursuant to Texas Civil Practice & Remedies Code § 38.001(8).

                                 COUNT FOUR
                  CIVIL CONSPIRACY – GILLESPIE & RITCHIE BROS.

                                               71.

        There was a meeting of the minds between Gillespie and Ritchie Bros. to commit the

 wrongful conduct described herein, including conversion, breach of contract, and violations of

 the uniform commercial code.

                                               72.

        Ritchie Bros. acquired knowledge of Gillespie’s wrongful possession of the Converted


                                               - 16 -
 3946073v1
Case 9:24-cv-00085-MJT         Document 24        Filed 10/17/24         Page 17 of 18 PageID #: 333




 Equipment. Despite its knowledge, Ritchie Bros. continued to serve Gillespie and facilitated the

 sale of the Converted Equipment to a third party, playing a pivotal role in Gillespie’s

 wrongdoing.

                                                 73.

        Ritchie Bros. is responsible for the wrongdoing committed by Gillespie. In particular,

 Ritchie Bros. is responsible for Gillespie’s conversion of the Converted Equipment and improper

 sale of the Converted Equipment. Ritchie Bros.’ actions in furthering this conspiracy were taken

 during the conspiracy’s operation. Indeed, Ritchie Bros.’ actions were taken to assist Gillespie

 and further his misconduct.

                                                 74.

        But for the overt acts taken by Ritchie Bros. to further the objectives of Gillespie’s

 activities described herein, Gillespie would not have been able to transfer the Converted Property

 at the auction. The conspiracy caused damage to Plaintiff.

                                         JURY DEMAND

        Plaintiff demands trial by jury on all issues triable as such.

                                     PRAYER FOR RELIEF

        Therefore, Plaintiff, John White, asks that this Court deem this First Amended Complaint

 good and sufficient and that, after due proceedings are had, this Court enter a Judgment in favor

 of Plaintiff and against Defendants awarding:

                1. all damages to which Plaintiff is entitled;

                2. attorneys’ fees as prayed for herein;

                3. costs and pre- and post-judgment interest; and

                4. any other relief to which Plaintiff is legally entitled.
        .



                                                 - 17 -
 3946073v1
Case 9:24-cv-00085-MJT   Document 24     Filed 10/17/24     Page 18 of 18 PageID #: 334




                                       Respectfully submitted,


                                       /s/ Lance C. McCardle
                                       Lance C. McCardle
                                       Texas Bar No. 24128047
                                       FISHMAN HAYGOOD LLP
                                       201 St. Charles Avenue, 46th Floor
                                       New Orleans, Louisiana 70170-4600
                                       (504) 586-5252 (phone)
                                       (504) 586-5250 (facsimile)
                                       lmccardle@fishmanhaygood.com

                                       Counsel for Plaintiff John White




                                        - 18 -
 3946073v1
